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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                  Case No.: 8:11-CR-323-T-17TBM

 BRIAN C. WEILER
                                    /

                                           ORDER

        This matter comes before the Court pursuant to Defendant’s, Brian C. Weiler, Rule

 29(c) Motion for Post Conviction Judgment of Acquittal, and if Denied, His Rule 33 Motion

 for New Trial, (Doc. 678), filed December 24, 2014, and the Government’s Response in

 Opposition, (Doc. 696), filed January 21, 2015. For the reasons that follow, the relief the

 Defendant seeks is DENIED.

        Defendant Brian C. Weiler challenges his conviction for Count I of the Superseding

 Indictment. (Doc. 678). Defendant alleges the Government failed to prove Defendant’s

 guilt on the charged conspiracy through record evidence because Defendant was a

 licensed professional permitted to possess and dispense controlled substances.

 Defendant further contends that, rather than prove the charged conspiracy, the

 Government submitted evidence of several, distinct, and separate conspiracies that

 prejudiced Defendant’s right to a fair trial on the charged conspiracy. Defendant contends

 the lack of evidence should result in complete acquittal, or, in the alternative, a new trial

 without the introduction of the separate, distinct conspiracies. The Government opposes

 Defendant’s requests, and contends the record evidence amply proves Defendant’s guilt

 in the charged conspiracy.
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    1. Rule 29 Motion for Acquittal

       When considering a Rule 29 motion for acquittal, the Court must “view the

 evidence in the light most favorable to the government.” United States v. Sellers. 871

 F.2d 1019, 1020 (11th Cir. 1989) (citing Glasser v. United States. 315 U.S. 60 (1942)).

 The Court is required to “resolve any conflicts in the evidence in favor of the Government”

 and “accept all reasonable inferences that tend to support the government’s case.” U.S.

 v. Ward. 197 F.3d 1076 (11th Cir. 1999) (citing United States v. Tavlor. 972 F.2d 1247,

 1250 (11th Cir. 1992); United States v. Bums. 597 F.2d 939, 941 (5th Cir. 1979)). The

 Court must determine “whether a reasonable jury could have found the defendant guilty

 beyond a reasonable doubt.” ]d. “It is not necessary for the evidence to exclude every

 reasonable hypothesis of innocence or be wholly inconsistent with every conclusion

 except that of guilt, provided a reasonable trier of fact could find that the evidence

 establishes guilt beyond a reasonable doubt.” Sellers. 871 F.2d at 1021 (quoting United

 States v. Bell. 678 F.2d 547, 549 (5th Cir. Unit B 1982)).

        Defendant first argues the evidence was insufficient to sustain a conviction for

 Count 1 of the Superseding Indictment. Specifically, Defendant argues he was permitted

 to legally perform the actions alleged in the conspiracy, and that the evidence

 demonstrated separate conspiracies rather than a single conspiracy. (Doc. 678). The

 Government contends the evidence was adequate to sustain the conviction, and that it

 proved at trial Defendant’s guilt of facilitating the charged conspiracy. (Doc. 696).

        “To determine whether a jury could reasonably have found [the] evidence

 established a single conspiracy beyond a reasonable doubt, [a court] must consider: (1)

 whether a common goal existed; (2) the nature of the underlying scheme; and (3) the
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 overlap of participants.” United States v. Huff. 609 F.3d 1240, 1243 (11th Cir. 2010)

 (quoting United States v. Richardson. 532 F.3d 1279, 1284 (11th Cir. 2008)). Further,

 the Government must prove interdependence amongst co-conspirators. United States v.

 Seher. 562 F.3d 1344,1366 (11th Cir. 2009). The Seher court explained:

              The existence of separate transactions does not have to imply
              separate conspiracies if the co-conspirators acted in concert
              to further a common goal. Courts typically define the common
              goal element as broadly as possible, with "common” being
              defined as “similar” or “substantially the same.”        If a
              defendant’s actions facilitated the endeavors of other co­
              conspirators, or facilitated the venture as a whole, then a
              single conspiracy is shown. Each co-conspirator does not
              have to be involved in every part of the conspiracy.

 Jd. The Huff court contrasted and compared “hub-and-spoke” conspiracies with “rimless

 wheel” and other forms of conspiracies:

              A “hub-and-spoke” conspiracy occurs where “a central core of
              conspirators recruits separate groups of co-conspirators to
              carry out the various functions of the illegal enterprise.” “The
              core conspirators move from spoke to spoke, directing the
              functions of the conspiracy.” Where only one conspirator
              moves from spoke to spoke, however, the conspiracy is
              analogous to a “rimless wheel,” with nothing connecting the
              separate spokes into a single conspiracy. “Thus, where the
              ‘spokes’ of a conspiracy have no knowledge of or connection
              with any other, dealing independently with the hub
              conspirator, there is not a single conspiracy, but rather as
              many conspiracies as there are spokes.” Where “the various
              spokes are aware of each other and of their common aim,”
              however, there is a single conspiracy.

 Huff. 609 F.3d at 1243-1244 (internal citations omitted).

       The Court finds the Government presented sufficient evidence at trial to permit a

 reasonable juror to conclude the Defendant was involved in the charged conspiracy. The

 testimony of Rets Griffith, Marco Beltran, Louis Fernandez, Jr., Louis Fernandez, III,

 Kimberly Curtis, Dr. Ronald Heromin, as well as the physical evidence introduced at trial,
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 adequately established Defendant’s guilt for Count I of the Superseding Indictment. The

 goals were common and the nature of the underlying scheme was similar—the co­

 conspirators sought to distribute Oxycodone, a controlled substance, for personal gain

 and profit. The overlap of participants is adequately described in Defendant’s motion,

 and need not be recited here—the participants from the allegedly separate and distinct

 conspiracies sufficiently overlapped with the participants alleged in Count I of the

 Superseding Indictment. Also, the mere fact that Defendant possessed a license to

 legally distribute a controlled substance does not grant Defendant the authority to willingly

 dispense the controlled substance for knowingly fraudulent prescriptions.           Evidence

 introduced at trial overwhelmingly established Defendant’s actions were not those of

 dispensing controlled substances for legal purposes.            Accordingly, the evidence

 presented at trial was sufficient to sustain a finding of guilt for Count I of the Superseding

 Indictment, and the Defendant’s Rule 29 motion for new trial for Count 1 is DENIED.

    2. Rule 33 Motion for New Trial

        Upon a Rule 33 motion, the Court “may vacate any judgment and grant a new trial

 if the interest of justice so requires.” Federal Rule of Criminal Procedure 33(a). The grant

 of a new trial is sparingly used, and only “where there would be a miscarriage of justice”

 and the “evidence preponderates heavily against the verdict.” United States v. Indelicato.

 611 F.2d 376 (1st Cir. 1979).

        Defendant argues two points: 1) that a witness referenced an “internet business”

 that, in context, suggested illegal activity; and 2) the arguments raised in the Rule 29

 arguments above. (Doc. 678). These arguments were addressed contemporaneously at

 trial, and have been re-alleged in the subject motion. During the trial the Court did not,
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 and after reviewing Defendant’s motion and the Government’s response still does not,

find a miscarriage of justice, nor that the evidence preponderates heavily against the

 verdict. Therefore, Defendant’s Rule 33 motion for new trial is DENIED.

         Accordingly, it is ORDERED that Defendant’s Rule 29 Motion for Acquittal and

 Rule 33 Motion for New Trial are DENIED.                                  ^
         DONE and ORDERED, in Chambers, in Tampa, Florida, th is ^ ^ c la v of February,

 2015.


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